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                                           USDC SDNY
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                                           ELECTRONICALLY FILED
                                           DOC #:
UNITED STATES DISTRICT COURT               DATE FILED: 11/4/2020
SOUTHERN DISTRICT OF NEW YORK

WILLIAM BRACEY,
                                  Movant,                          20-CV-9015 (VEC)

                      -against-                                   15-CR-0537-4 (VEC)
UNITED STATES OF AMERICA,                              ORDER TO ANSWER, 28 U.S.C. § 2255
                                  Respondent.

VALERIE CAPRONI, United States District Judge:

         The Court, having concluded that the motion brought under 28 U.S.C. § 2255 should not

be summarily dismissed as being without merit, hereby ORDERS that:

         The Clerk of Court shall electronically notify the Criminal Division of the U.S.

Attorney’s Office for the Southern District of New York that this order has been issued.

         Within sixty days of the date of this order, the U.S. Attorney’s Office shall file an answer

or other pleadings in response to the motion. Movant shall have thirty days from the date on

which Movant is served with Respondent’s answer to file a response. Absent further order, the

motion will be considered fully submitted as of that date. The parties can disregard the

previously-set deadlines in docket entry 3.

         All further papers filed or submitted for filing must include the criminal docket number

and will be docketed in the criminal case.

         A copy of this order will be mailed by chambers.

SO ORDERED.

Dated:     November 4, 2020
           New York, New York

                                                                 VALERIE CAPRONI
                                                               United States District Judge
